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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 :
DR. ALAN SACERDOTE, et al.,                      : Case No.: 1:16-cv-06284
                                                 :
                       Plaintiffs,               :
                                                 : ECF Case (Judge Katherine B. Forrest)
v.                                               :
                                                 :
NEW YORK UNIVERSITY,                             :
                                                 :
                       Defendant.                :

                            DECLARATION OF IAN C. TAYLOR

IAN C. TAYLOR hereby declares as follows:

       1.      I am a partner with the law firm of DLA Piper LLP (US), counsel for Defendant,

New York University (“NYU”), in the above-captioned action and I have personal knowledge of

the facts set forth herein, except where otherwise noted. I respectfully submit this Declaration in

support of NYU’s Motion for Summary Judgment pursuant to Federal Rule of Civil Procedure

56.

       2.      Attached hereto as Exhibit 1is a true and correct copy of the Amended Complaint

(ECF No 39) filed in this action.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the New York

University Retirement Plan for Members of the Faculty, Professional Research Staff and

Administration, Amended and Restated Effective January 1, 2014 (“Faculty Plan”)

(NYU0042542-78) produced by NYU in this action.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of the New York

University School of Medicine Retirement Plan for Members of the Faculty, Professional
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Research Staff and Administration, Amended and Restated Effective January 1, 2016 (“Medical

Plan”) (NYU0116960-7004) produced by NYU in this action.

        5.     Attached hereto as Exhibit 4 is a true and correct copy of the Expert Report of

Marcia S. Wagner, Esq., which NYU severed on Plaintiffs on December 22, 2017.

        6.     Attached hereto as Exhibit 5 is a true and correct copy of the Plan Sponsor

Council of America 2017 403(b) Plan Survey, which is available for purchase by the public at

https://www.psca.org/2017_403b_report.

        7.     Attached hereto as Exhibit 6 is a true and correct copy of relevant excerpts of the

deposition testimony transcript of Chittenden, dated November 22, 2017.

        8.     Attached hereto as Exhibit 7 is a true and correct copy of the 2016 Form 5500 for

the Faculty Plan (NYU0164134-76) produced by NYU in this action.

        9.     Attached hereto as Exhibit 8 is a true and correct copy of the 2016 Form 5500 for

the Medical Plan (NYU0164089-133) produced by NYU in this action.

        10.    Attached hereto as Exhibit 9 is a true and correct copy of the August 25, 2016

Vanguard All-in fee disclosure (as of June 30, 2016) (NYU0007185-217) produced by NYU in

this action.

        11.    Attached hereto as Exhibit 10 is a true and correct copy of the January 1, 2016 to

December 31, 2016 TIAA-CREF Investment Fee & Expense Disclosure for New York

University (TIAA_NYU_00004772-73) produced by third-party Teachers Insurance and Annuity

Association New York, N.Y. (“TIAA”) in this action.

        12.    Attached hereto as Exhibit 11 is a true and correct copy of the January 1, 2016 to

December 31, 2016 TIAA-CREF Investment Fee & Expense Disclosure for NYU School of

Medicine (TIAA_NYU_00000122-25) produced by third-party TIAA in this action.



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         13.   Attached hereto as Exhibit 12 is a true and correct copy of the 404a-5 Fee

Disclosure for the Faculty Plan (as of March 31, 2016) (NYU0006838-62) produced by NYU in

this action.

         14.   Attached hereto as Exhibit 13 is a true and correct copy of the August 26, 2016

404a-5 Fee Disclosure for the Medical Plan (as of June 30, 2016) (NYU0163399-420) produced

by NYU in this action.

         15.   Attached hereto as Exhibit 14 is a true and correct copy of the March 10, 2008

TIAA-CREFF Recordkeeping Services Agreement (Faculty Plan) (NYU0000244-57) produced

by NYU in this action and which was entered as an Exhibit by Plaintiffs in the deposition of

Petti.

         16.   Attached hereto as Exhibit 15 is a true and correct copy of the August 31, 2008

Amendment No. 1 to TIAA-CREF Recordkeeping Services Agreement (Faculty Plan)

(NYU0000416-17) produced by NYU in this action.

         17.   Attached hereto as Exhibit 16 is a true and correct copy of the March 9, 2012

Amendment No. 2 to TIAA-CREF Recordkeeping Services Agreement (Faculty Plan)

(NYU0000274-75) produced by NYU in this action.

         18.   Attached hereto as Exhibit 17 is a true and correct copy of the July 9, 2012

Amendment No. 3 to TIAA-CREF Recordkeeping Services Agreement (Faculty Plan)

(NYU0000241-43) produced by NYU in this action.

         19.   Attached hereto as Exhibit 18 is a true and correct copy of the September 18,

2015 Amendment No. 4 to the TIAA-CREF Recordkeeping Services Agreement (Faculty Plan)

(NYU0000410-15) produced by NYU in this action.




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          20.   Attached hereto as Exhibit 19 is a true and correct copy of the January 1, 2012

Vanguard Recordkeeping Fee Agreement (Faculty Plan) (Vanguard-NYU_0000040-50)

produced by third-party Vanguard in this action.

          21.   Attached hereto as Exhibit 20 is a true and correct copy of the October 1, 2012

TIAA-CREF Recordkeeping Services Agreement (Medical Plan) (NYU0000564-585) produced

by NYU in this action.

          22.   Attached hereto as Exhibit 21 is a true and correct copy of the August 22, 2016

Amendment No. 1 to TIAA-CREF Recordkeeping Services Agreement (Medical Plan)

(NYU0000589-92) produced by NYU in this action.

          23.   Attached hereto as Exhibit 22 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Heming, dated December 13, 2017.

          24.   Attached hereto as Exhibit 23 is a true and correct copy of the relevant excerpts

of the deposition testimony transcript of Petti, dated November 14, 2017.

          25.   Attached hereto as Exhibit 24 is a true and correct copy of the September 13,

2007 Retirement Committee Meeting Minutes (NYU0002387) produced by NYU in this action.

          26.   Attached hereto as Exhibit 25 is a true and correct copy of the January 31, 2008

NYU Retirement Committee Meeting Minutes (NYU0003846-48) produced by NYU in this

action.

          27.   Attached hereto as Exhibit 26 is a true and correct copy of the October 8, 2008

Defined Contribution Investment Consulting Services Meeting Notes (NYU0003671-73)

produced by NYU in this action.




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          28.   Attached hereto as Exhibit 27 is a true and correct copy of the February 4, 2009

NYU Retirement Committee Meeting Minutes (NYU0083304-06) produced by NYU in this

action.

          29.   Attached hereto as Exhibit 28 is a true and correct copy of the May 15, 2009 Due

Diligence Meeting Notes (NYU0003086-89) produced by NYU in this action and which was

entered as an Exhibit by Plaintiffs in the deposition of Petti.

          30.   Attached hereto as Exhibit 29 is a true and correct copy as of January 9, 2018 of

the NYU Principles of Joint Shared Governance, which is publicly available at

https://www.nyu.edu/about/leadership-university-administration/university-

senate/membership/councils/tenured-tenure-track-faculty-senators-council/rules-

bylaws/principles-of-joint-shared-governance.html.

          31.   Attached hereto as Exhibit 30 is a true and correct copy of the December 9, 2009

NYU Retirement Committee Minutes (NYU0002885-86) produced by NYU in this action and

which was entered as an Exhibit by Plaintiffs in the deposition of Hollnsteiner.

          32.   Attached hereto as Exhibit 31 is a true and correct copy of the January 21, 2010

NYU Retirement Committee Meeting Minutes (NYU0094055-56) produced by NYU in this

action.

          33.   Attached hereto as Exhibit 32 is a true and correct copy of the February 18, 2010

NYU Retirement Committee Minutes (NYU0094132-35) produced by NYU in this action.

          34.   Attached hereto as Exhibit 33 is a true and correct copy of the March 18, 2010

(mistakenly dated March 18, 2009) Retirement Committee for the New York University, NYU

Langone, and NYU Polytechnic 403(b) and 457 (b) Plans Meeting Minutes (NYU0002872-76)

produced by NYU in this action.



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          35.   Attached hereto as Exhibit 34 is a true and correct copy of the April 19, 2010

NYU Retirement Committee Meeting Minutes (NYU0004040-42) produced by NYU in this

action.

          36.   Attached hereto as Exhibit 35 is a true and correct copy of the June 14, 2010

NYU Retirement Committee Meeting Minutes (NYU0002881-83) produced by NYU in this

action.

          37.   Attached hereto as Exhibit 36 is a true and correct copy of the September 23,

2010 NYU Retirement Committee Meeting Minutes (NYU002388-90) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the deposition of Hollnsteiner.

          38.   Attached hereto as Exhibit 37 is a true and correct copy of the November 2, 2010

NYU Retirement Committee Meeting Minutes (NYU0005074-76) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the depositions of Halley and Suhr.

          39.   Attached hereto as Exhibit 38 is a true and correct copy of the January 10, 2011

NYU Retirement Committee Meeting Minutes (NYU0003674-77) produced by NYU in this

action.

          40.   Attached hereto as Exhibit 39 is a true and correct copy of the March 21, 2011

NYU Retirement Committee Meeting Minutes (NYU0002099-102) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the depositions of Rezler and

Woodruff.

          41.   Attached hereto as Exhibit 40 is a true and correct copy of the April 1, 2011

NYU Retirement Committee Meeting Minutes (NYU0004047-49) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the depositions of Rezler and

Woodruff.



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          42.   Attached hereto as Exhibit 41 is a true and correct copy of the June 9, 2011 NYU

Retirement Committee Meeting Minutes (NYU004053-54) produced by NYU in this action.

          43.   Attached hereto as Exhibit 42 is a true and correct copy of the August 15, 2011

NYU Retirement Committee Meeting Minutes (NYU0004043-46) produced by NYU in this

action.

          44.   Attached hereto as Exhibit 43 is a true and correct copy of the November 14,

2011 NYU Retirement Committee Meeting Minutes (NYU0003083-85) produced by NYU in

this action.

          45.   Attached hereto as Exhibit 44 is a true and correct copy of the February 21, 2012

NYU Retirement Committee Meeting Minutes (NYU0094959-62) produced by NYU in this

action.

          46.   Attached hereto as Exhibit 45 is a true and correct copy of the May 17, 2012

NYU Retirement Committee Meeting Minutes (NYU0004055-58) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the deposition of Hollnsteiner.

          47.   Attached hereto as Exhibit 46 is a true and correct copy of the September 4, 2012

NYU Retirement Committee Meeting Minutes (NYU0004050-52) produced by NYU in this

action.

          48.   Attached hereto as Exhibit 47 is a true and correct copy of the November 16,

2012 NYU Retirement Committee Meeting Minutes (NYU0001942-44) produced by NYU in

this action.

          49.   Attached hereto as Exhibit 48 is a true and correct copy of the February 22, 2013

NYU Retirement Committee Meeting Minutes (NYU0002557-60) produced by NYU in this

action and which was entered as an Exhibit by Plaintiffs in the depositions of Halley and Suhr.



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          50.   Attached hereto as Exhibit 49 is a true and correct copy of the June 14, 2013

NYU Retirement Committee Meeting Minutes (NYU0002391-94) produced by NYU in this

action.

          51.   Attached hereto as Exhibit 50 is a true and correct copy of the November 25,

2013 NYU Retirement Committee Meeting Minutes (NYU0002092-94) produced by NYU in

this action.

          52.   Attached hereto as Exhibit 51 is a true and correct copy of the February 26, 2014

NYU Retirement Committee Meeting Minutes (NYU0004589-91) produced by NYU in this

action.

          53.   Attached hereto as Exhibit 52 is a true and correct copy of the May 22, 2014

NYU Retirement Committee Meeting Minutes (NYU0002384-86) produced by NYU in this

action.

          54.   Attached hereto as Exhibit 53 is a true and correct copy of the August 19, 2014

NYU Retirement Committee Meeting Minutes (NYU0002865-67) produced by NYU in this

action.

          55.   Attached hereto as Exhibit 54 is a true and correct copy of the October 3, 2014

NYU Retirement Committee Ad Hoc Meeting to Discuss Defined Benefit Plans (NYU0002714-

15) produced by NYU in this action.

          56.   Attached hereto as Exhibit 55 is a true and correct copy of the December 11,

2014 NYU Retirement Committee Meeting Minutes (NYU0002779-82) produced by NYU in

this action.




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       57.     Attached hereto as Exhibit 56 is a true and correct copy of the February 26, 2015

NYU Retirement Committee Due Diligence Meeting Notes (NYU0003948-50) produced by

NYU in this action.

       58.     Attached hereto as Exhibit 57 is a true and correct copy of the June 9, 2015

NYU/NYU Langone Retirement Committee Meeting Minutes (NYU0003849-51) produced by

NYU in this action.

       59.     Attached hereto as Exhibit 58 is a true and correct copy of the September 15,

2015 NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes

(NYU0005069-71) produced by NYU in this action.

       60.     Attached hereto as Exhibit 59 is a true and correct copy of the December 16,

2015 NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes

(NYU0003275-78) produced by NYU in this action and which was entered as an Exhibit by

Plaintiffs in the deposition of Heming.

       61.     Attached hereto as Exhibit 60 is a true and correct copy of the March 2, 2016

NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes (NYU0113120-21)

produced by NYU in this action.

       62.     Attached hereto as Exhibit 61 is a true and correct copy of the June 1, 2016

NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes (NYU0002889-91)

produced by NYU in this action.

       63.     Attached hereto as Exhibit 62 is a true and correct copy of the September 8, 2016

Due Diligence Meeting Minutes (NYU0026303-06) produced by NYU in this action.




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       64.     Attached hereto as Exhibit 63 is a true and correct copy of the December 12,

2016 NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes

(NYU0026298-300) produced by NYU in this action.

       65.     Attached hereto as Exhibit 64 is a true and correct copy of the February 23, 2017

NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes (NYU0163208-11)

produced by NYU in this action.

       66.     Attached hereto as Exhibit 65 is a true and correct copy of the May 24, 2017

NYU/NYU Langone Retirement Committee Due Diligence Meeting Minutes (NYU0162850-52)

produced by NYU in this action.

       67.     Attached hereto as Exhibit 66 is a true and correct copy of Plaintiff’s Brown’s

TIAA Supplemental Retirement Annuity Contract (TIAA_NYU_00013752-877) produced by

third-party TIAA in this action.

       68.     Attached hereto as Exhibit 67 is a true and correct copy of Plaintiff Marie

Monaco’s June 1, 2012 TIAA Group Retirement Annuity Certificate (TIAA_NYU_00013878-

983) produced by third-party TIAA in this action.

       69.     Attached hereto as Exhibit 68 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Meagher, dated December 15, 2017.

       70.     Attached hereto as Exhibit 69 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Crispin Miller, dated November 15, 2017.

       71.     Attached hereto as Exhibit 70 is a true and correct copy of Plaintiff Crispin

Miller’s Vanguard Quarterly Statement for 3rd Quarter (NYU0084118-22) produced by NYU in

this action and was entered as Exhibit 4 in the deposition of Crispin Miller.




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       72.     Attached hereto as Exhibit 71 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Monaco, dated November 17, 2017.

       73.     Attached hereto as Exhibit 72 is a true and correct copy as of January 10, 2018 of

the NYU website profile for Plaintiff Monaco, which is publicly available at

https://med.nyu.edu/faculty/marie-e-monaco.

       74.     Attached hereto as Exhibit 73 (Sampling of Monaco Quarterly Statements 2009-

2017) are true and correct copies of Monaco TIAA 2009 Quarterly Statement for 3rd Quarter

(TIAA_NYU_00016635-44), Monaco TIAA 2010 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012750-59), Monaco TIAA 2011 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012760-69), Monaco TIAA 2012 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012770-81), Monaco TIAA 2013 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012782-93), Monaco TIAA 2014 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012794-805), Monaco TIAA 2015 Quarterly Statement for 4th Quarter

(TIAA_NYU_00012806-21), and Monaco TIAA 2016 Quarterly Statement for 4th Quarter

(TIAA_NYU_00016719-34), and Monaco TIAA 2017 Quarterly Statement for 2nd Quarter

(TIAA_NYU_00016749-62) produced by third-party TIAA in this action.

       75.     Attached hereto as Exhibit 74 is a true and correct copy as of January 4, 2018 of

the NYU website profile for Plaintiff Straussner, which is publicly available at

http://socialwork.nyu.edu/our-faculty/full-time/shulamith-lala-ashenberg-straussner.html.

       76.     Attached hereto as Exhibit 75 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Straussner, dated November 16, 2017.

       77.     Attached hereto as Exhibit 76 (Sampling of Straussner TIAA Quarterly

Statements 2009-2017) are true and correct copies of Straussner TIAA 2009 Quarterly Statement



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for 4th Quarter (TIAA_NYU_00016659-68), Straussner TIAA 2010 Quarterly Statement for 4th

Quarter (TIAA_NYU_00013454-63), Straussner TIAA 2011 Quarterly Statement for 4th Quarter

(TIAA_NYU_00013464-73), Straussner TIAA 2012 Quarterly Statement for 4th Quarter

(TIAA_NYU_00013474-85), Straussner TIAA 2013 Quarterly Statement for 4th Quarter

(TIAA_NYU_00013486-97), Straussner TIAA 2014 Quarterly Statement for 4th Quarter

(TIAA_NYU_00013498-509), Straussner TIAA 2015 Quarterly Statement for 4th Quarter

(TIAA_NYU_00013510-27), Straussner TIAA 2016 Quarterly Statement for 4th Quarter

(TIAA_NYU_00016845-58), and Straussner TIAA 2017 Quarterly Statement for 2nd Quarter

(TIAA_NYU_00016873-86) produced by third-party TIAA in this action.

        78.    Attached hereto as Exhibit 77 is a true and correct copy of Straussner TIAA

Participant Account Statement as of December 312016 (NYU00026998) produced by NYU in

this action and entered as Exhibit 14 in the deposition of Straussner.

        79.    Attached hereto as Exhibit 78 is a true and correct copy of the Straussner

Vanguard 2016 Quarterly Statement for 3rd Quarter (NYU0084043-47) produced by NYU in

this action.

        80.    Attached hereto as Exhibit 79 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Brown, dated November 29, 2017.

        81.    Attached hereto as Exhibit 80 is a true and correct copy of the Brown 2014

Vanguard Quarterly Statement, 1st Quarter (PLA-NYU-000304-309) produced by Plaintiffs in

this action.

        82.    Attached hereto as Exhibit 81 is a true and correct copy of the Brown 2016

Vanguard Quarterly Statement, 3rd Quarter (PLA-NYU-000628-33) produced by Plaintiffs in

this action.



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        83.    Attached hereto as Exhibit 82 is a true and correct copy of the Brown 2017 TIAA

Quarterly Statement, 2nd Quarter (TIAA_NYU_00016683-88) produced by third-party TIAA in

this action.

        84.    Attached hereto as Exhibit 83 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Sacerdote, dated November 16, 2017.

        85.    Attached hereto as Exhibit 84 (Sampling of Sacerdote TIAA Quarterly

Statements 2012-2017) are true and correct copies of Sacerdote 2012 TIAA Quarterly Statement,

4th Quarter (TIAA_NYU_00013174-85), Sacerdote 2013 TIAA Quarterly Statement, 4th

Quarter (TIAA_NYU_00013186-97), Sacerdote 2014 TIAA Quarterly Statement, 4th Quarter

(TIAA_NYU_00013198-209), Sacerdote 2015 TIAA Quarterly Statement, 4th Quarter

(TIAA_NYU_00013016-31), Sacerdote 2016 TIAA Quarterly Statement, 4th Quarter

(TIAA_NYU_00016763-78), and Sacerdote 2017 TIAA Quarterly Statement, 2nd Quarter

(TIAA_NYU_00016793) produced by TIAA in this action.

        86.    Attached hereto as Exhibit 85 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Plaintiff Samuels, dated November 29, 2017.

        87.    Attached hereto as Exhibit 86 is a true and correct copy as of January 10, 2018 of

the NYU website profile for Plaintiffs Samuels, publicly available at

https://med.nyu.edu/faculty/herbert-h-samuels.

        88.    Attached hereto as Exhibit 87 (Sampling of Samuels TIAA Quarterly Statements

2009-2017) are true and correct copies of Samuels TIAA 2009 Quarterly Statement, 4th Quarter

(TIAA_NYU_0016645-50), 2010 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00013412-17), 2011 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00013418-23), 2012 Samuels Quarterly Statement, 4th Quarter



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(TIAA_NYU_00013424-33), 2013 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00013434-43), 2014 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00013444-53), 2015 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00013210-23), 2016 Samuels Quarterly Statement, 4th Quarter

(TIAA_NYU_00016807-20), 2017 Samuels Quarterly Statement, 2nd Quarter

(TIAA_NYU_00016833-44) produced by third-party TIAA in this action.

          89.   Attached hereto as Exhibit 88 is a true and correct copy of the Retirement Plan

Committee Charter (NYU0034912-21) produced by NYU in this action.

          90.   Attached hereto as Exhibit 89 is a true and correct copy of the relevant excerpts

of the deposition testimony transcript of Rezler, dated November 16, 2017.

          91.   Attached hereto as Exhibit 90 is a true and correct copy of the May 2008

Cammack Lahrette Consulting (“Cammack”) Defined Contribution Retirement Plan Investment

Consulting Services Proposal (CL0000285-318) produced by third-party Cammack in this

action.

          92.   Attached hereto as Exhibit 91 is a true and correct copy of the sworn Declaration

of Jan Rezler in Support of Defendants’ Motion for Summary Judgment, dated January 10, 2018.

          93.   Attached hereto as Exhibit 92 is a true and correct copy of the April 8, 2009

Cammack Larhette Advisors, LLC Investment Advisory Services Agreement (NYU0096711-20)

produced by NYU in this action.

          94.   Attached hereto as Exhibit 93 is a true and correct copy of a May 10, 2012 E-

mail re: NYU/NYU Langone Retirement Committee Meeting – May 17, 2012 with attachments

(CLC0033465-682) produced by third-party Cammack in this action.




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          95.    Attached hereto as Exhibit 94 is a true and correct copy of the New York

University, New York University School of Medicine, NYU Hospitals Center, Polytechnic

Institute of NYU Defined Contribution Retirement Programs Request for Proposal, July 31,

2009 (CLC0022136-57) produced by third-party Cammack in this action.

          96.    Attached hereto as Exhibit 95 is a true and correct copy of the New York

University NYU Langone Medical Center January 2011 Retirement Plan Vendor Consolidation

presentation (CLC0025186-93) produced by third-party Cammack in this action.

          97.    Attached hereto as Exhibit 96 is a true and correct copy of a September 25, 2009

e-mail attaching the September 2009 TIAA Response to Request for Proposal Submission

(TIAA_NYU_00031578- 997), produced by third-party TIAA in this action. Exhibit 96 includes

printouts of an excel document attached to the e-mail, which was produced by TIAA in native

format.

          98.    Attached hereto as Exhibit 97 is a true and correct copy of the September 25,

2009 Vanguard Response to Request for Proposal (CLC0019278-329) produced by third-party

Cammack in this action.

          99.    Attached hereto as Exhibit 98 is a true and correct copy the September 2009

Fidelity Investments Response to Request for Proposal (CLC0022812-869) produced by third-

party Cammack in this action.

          100.   Attached hereto as Exhibit 99 is a true and correct copy of the relevant excerpts

of the deposition testimony transcript of Halley, dated November 3, 2017.

          101.   Attached hereto as Exhibit 100 is a true and correct copy of the relevant excerpts

of the deposition testimony transcript of Hueber, dated November 22, 2017.




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       102.    Attached hereto as Exhibit 101 is a true and correct copy of TIAA, Awards &

Recognition, which is publicly available at https://www.tiaa.org/public/about-tiaa/awards-

recognition.

       103.    Attached hereto as Exhibit 102 is a true and correct copy of the October 1, 2012

Custodial Account Agreement for 403(b) Plan (Medical Plan) (NYU0000597-610) produced by

NYU in this action.

       104.    Attached hereto as Exhibit 103 is a true and correct copy of a May-July 2016 e-

mail chain re: NYY Washington Square Shareclass Analysis (Vanguard-NYU_0076187-95)

produced by third-party Vanguard in this action. Exhibit 103 includes printouts of an excel

document attached to the e-mail, which was produced by Vanguard in native format.

       105.    Attached hereto as Exhibit 104 is a true and correct copy of the April 4, 2016

Amended Restated Charter of TIAA, which is publicly available at

https://www.tiaa.org/public/pdf/tiaa_charter.pdf.

       106.    Attached hereto as Exhibit 105 is a true and correct copy of the Charter of

College Retirement Equities Fund, as amended August 23, 2002, which is publicly available at

https://www.tiaa.org/ public/pdf/ cref_charter.pdf.

       107.    Attached hereto as Exhibit 106 is a true and correct copy of the 2011 Form 5500

(Medical Plan) (PLA-NYU-004657-97) produced by Plaintiffs in this action.

       108.    Attached hereto as Exhibit 107 is a true and correct copy the 2010 Form 5500

(Medical Plan) (PLA-NYU-004616-56) produced by Plaintiffs in this action.

       109.    Attached hereto as Exhibit 108 is a true and correct copy of the 2012 Form 5500

(Medical Plan) (NYU0018987-9030) produced by NYU in this action.




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       110.   Attached hereto as Exhibit 109 is a true and correct copy of a February 4, 2013 e-

mail re: Explanation of the Return of Excess Plan Expenses (“Revenue Credits”) with

attachments (CLC0036515-21) produced by third-party Cammack in this action.

       111.   Attached hereto as Exhibit 110 is a true and correct copy of the January 1, 2012

to December 31, 2012 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00001612-15) produced by third-party TIAA in this action.

       112.   Attached hereto as Exhibit 111 is a true and correct copy of the January 1, 2012

to December 31, 2012 TIAA-CREF Service Provider Summary for the NYU School of Medicine

(TIAA_NYU_0000060-66) produced by third-party TIAA in this action.

       113.   Attached hereto as Exhibit 112 is a true and correct copy of the January 1, 2013

to December 31, 2013 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00002345-47) produced by third-party TIAA in this action.

       114.   Attached hereto as Exhibit 113 is a true and correct copy of the January 1, 2013

to December 31, 2013 TIAA-CREF Service Provider Summary for NYU School of Medicine

(TIAA_NYU_00000074-80) produced by third-party TIAA in this action.

       115.   Attached hereto as Exhibit 114 is a true and correct copy of the January 1, 2014

to December 31, 2014 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00003139-141) produced by third-party TIAA in this action.

       116.   Attached hereto as Exhibit 115 is a true and correct copy of the January 1, 2014

to December 31, 2014 TIAA-CREF Service Provider Summary for NYU School of Medicine

(TIAA_NYU_00000088-94) produced by third-party TIAA in this action.




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       117.    Attached hereto as Exhibit 116 is a true and correct copy of the January 1, 2015

to December 31, 2015 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00003985-87) produced by third-party TIAA in this action.

       118.    Attached hereto as Exhibit 117 is a true and correct copy of the January 1, 2015

to December 31, 2015 TIAA-CREF Service Provider Summary for NYU School of Medicine

(TIAA_NYU_00000112-19) produced by third-party TIAA in this action.

       119.    Attached hereto as Exhibit 118 is a true and correct copy of the January 1, 2016

to December 31, 2016 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00004819-21) produced by third-party TIAA in this action.

       120.    Attached hereto as Exhibit 119 is a true and correct copy as of January 5, 2018 of

the article titled “Why ownership matters” posted on Vanguard’s webpage and publicly available

at https://about.vanguard.com/what-sets-vanguard-apart/why-ownership-matters/.

       121.    Attached hereto as Exhibit 120 is a true and correct copy of the 2013 Form 5500

for the Medical Plan (PLA-NYU-004742-85) produced by Plaintiffs in this action.

       122.    Attached hereto as Exhibit 121 is a true and correct copy of the 2014 Form 5500

for the Medical Plan (NYU0000518-63) produced by NYU in this action.

       123.    Attached hereto as Exhibit 122 is a true and correct copy of the January 1, 2013

to December 31, 2013 TIAA-CREF Investment Fee and Expense Disclosure for NYU School of

Medicine (TIAA_NYU_00000069-73) produced by third-party TIAA in this action and entered

as an Exhibit by Plaintiffs in the deposition of Chittenden.

       124.    Attached hereto as Exhibit 123 is a true and correct copy of the Vanguard All-in

fee disclosure for NYU (as of June 30, 2011) (Vanguard-NYU_0001203-218) produced by third-

party Vanguard in this action and entered by Plaintiffs in the deposition of Heming.



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          125.   Attached hereto as Exhibit 124 is a true and correct copy of the Vanguard All-in

fee disclosure for NYU (as of April 30, 2012) (NYU0000385-407) produced by NYU in this

action.

          126.   Attached hereto as Exhibit 125 is a true and correct copy of the 2015 Form 5500

for the Medical Plan (PLA-NYU-004832-76) produced by Plaintiffs in this action.

          127.   Attached hereto as Exhibit 126 is a true and correct copy of the Vanguard All-in

fee disclosure for NYU (as of April 30, 2015) (NYU0000277-309) produced by NYU in this

action and was entered by Plaintiffs as an Exhibit in the deposition of Hollnsteiner.

          128.   Attached hereto as Exhibit 127 is a true and correct copy of a March 29, 2011 e-

mail from Jan Rezler, attaching meeting materials for the April 1, 2011 meeting of the

Retirement Committee, including a Quarterly Analysis of the TIAA Real Estate Account and

draft Investment Policy Statement (CLC0025965-6081), produced by third-party Cammack in

this action.

          129.   Attached hereto as Exhibit 128 is a true and correct copy of a June 17, 2011 e-

mail re: June 9 Retirement Committee Materials, attaching the approved working draft of the

Investment Policy Statement for the Committee (CLC0027134-42), produced by third-party

Cammack and was entered by Plaintiffs as an Exhibit in the deposition of Woodruff.

          130.   Attached hereto as Exhibit 129 is a true and correct copy of a January 7, 2011 e-

mail from Jan Rezler re: NYU Ret Comm Mtg (CLC0025238) produced by third-party

Cammack in this action.

          131.   Attached hereto as Exhibit 130 is a true and correct copy of a September 28, 2011

e-mail from Jan Rezler to Vanguard re: NYU/NYU Langone (CLC0027969-81) produced by

third-party Cammack in this action.



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       132.   Attached hereto as Exhibit 131 is a true and correct copy of the CREF Stock

Account Factsheet (as of September 30, 2017), which is publicly available at

https://www.tiaa.org/public/pdf/ffs/194408803.pdf.

       133.   Attached hereto as Exhibit 132 is a true and correct copy of sworn Declaration of

Glenn Friedman, Senior Director, Institutional Retirement Business Management, at TIAA,

dated December 22, 2017.

       134.   Attached hereto as Exhibit 133 is a true and correct copy May 1, 2017 College

Retirement Equities Fund (“CREF”) Prospectus, which is publicly available at

https://www.tiaa.org/public/pdf/cref_prospectus.pdf.

       135.   Attached hereto as Exhibit 134 is a true and correct copy of the June 30, 2011

CREF Semiannual Report, which is publicly available at

https://www.sec.gov/Archives/edgar/data/777535/000093041311005727/c66114_ncsrs.htm.

       136.   Attached hereto as Exhibit 135 is a true and correct copy of the May 1, 2017

TIAA Real Estate Account Prospectus, which is publicly available at

https://www.tiaa.org/public/pdf/realestate_prosp.pdf.

       137.   Attached hereto as Exhibit 136 is a true and correct copy of the TIAA Real Estate

Stock Account Factsheet (as of September 30, 2017), which is publicly available at

https://www.tiaa.org/public/pdf/ffs/878094200.pdf.

       138.   Attached hereto as Exhibit 137 is a true and correct copy of October 2016 NYU

Request for Proposal for Defined Contribution Recordkeeping Services (CLC0056516-43),

produced by third-party Cammack in this action.

       139.   Attached hereto as Exhibit 138 is a true and correct copy of the December 2016

summary of responses to the October 2016 NYU Request for Proposal for Defined



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Recordkeeping Services drafted by Cammack (CLC0058915-48) produced by third-party

Cammack in this action.

        140.   Attached hereto as Exhibit 139 is a true and correct copy of the TIAA Real Estate

Account Quarterly Performance Analysis for the Quarter Ended September 30, 2015, which is

publicly available at https://www.tiaa.org/public/pdf/TC_TIAA+_REA_QPA.pdf.

        141.   Attached hereto as Exhibit 140 is a true and correct copy of the sworn

Declaration of Lassaad Adel Turki, Ph.D., dated January 10, 2018.

        142.   Attached hereto as Exhibit 141 is a true and correct copy of the Expert Report of

Daniel R. Fischer, dated December 12, 2017, which NYU severed on Plaintiffs on December 22,

2017.

        143.   Attached hereto as Exhibit 142 is a true and correct copy of relevant excerpts of

the deposition testimony transcript of Surh, dated November 7, 2017.

        144.   Attached hereto as Exhibit 143 is a true and correct copy of the January 1, 2016

to December 31, 2016 TIAA-CREF Service Provider Summary for NYU School of Medicine

(TIAA_NYU_00000126-33), produced by third-party TIAA in this action.

        145.   Attached hereto as Exhibit 144 is a true and correct copy of the May 24, 2012

Vanguard All-in Fee Disclosure for the NYU School of Medicine (as of April 30, 2012)

(NYU0161209-233), produced by NYU in this action.

        146.   Attached hereto as Exhibit 145 is a true and correct copy of a February 15, 2012

e-mail re: Agenda and Materials for February 21, 2012 Retirement Committee Meeting,

attaching a due diligence report and other materials (NYU0012446-655), produced by NYU in

this action.




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        147.   Attached hereto as Exhibit 146 is a true and correct copy of the November 18,

2013 e-mail re: Retirement Committee Meeting Materials for November 25, 201, attaching a due

diligence report and other materials (CLC0038632-784), produced by third-party Cammack in

this action.

        148.   Attached hereto as Exhibit 147 is a true and correct copy of the May 16, 2017 e-

mail re: NYU/NYU Langone Retirement Committee Meeting- May 22, 2014, attaching a due

diligence report and other materials (CLC0040656-861), produced by third-party Cammack in

this action.

        149.   Attached hereto as Exhibit 148 is a true and correct copy the September 11, 2015

e-mail re: Retirement Committee Meeting on September 15, 2015, attaching a due diligence

report and other materials (CLC0048248-408), produced by third-party Cammack in this action.

        150.   Attached hereto as Exhibit 149 is a true and correct copy the September 1, 2016

e-mail re: Retirement Committee Meeting Materials, attaching a due diligence report and other

materials (CLC0054806-993), produced by third-party Cammack in this action.

        151.   Attached hereto as Exhibit 150 is a true and correct copy of the 2010 Form 5500

for the Faculty Plan (PLA-NYU-004248-4288) produced by Plaintiffs in this action.

        152.   Attached hereto as Exhibit 151 is a true and correct copy of the 2011 Form 5500

for the Faculty Plan (PLA-NYU-004289-329) produced by Plaintiffs in this action.

        153.   Attached hereto as Exhibit 152 is a true and correct copy of 2012 Form 5500 for

the Faculty Plan (PLA-NYU-004330-72) produced by Plaintiffs in this action.

        154.   Attached hereto as Exhibit 153 is a true and correct copy of the 2013 Form 5500

for the Faculty Plan (PLA-NYU-004373-415) produced by Plaintiffs in this action.




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          155.   Attached hereto as Exhibit 154 is a true and correct copy of the 2014 Form 5500

for the Faculty Plan (NYU0000197-240) produced by NYU in this action.

          156.   Attached hereto as Exhibit 155 is a true and correct copy of the 2015 Form 5500

for the Faculty Plan (PLA-NYU-004166-208) produced by Plaintiffs in this action.

          157.   Attached hereto as Exhibit 156 is a true and correct copy of the January 1, 2010

to December 31, 2010 TIAA-CREF Service Provider Summary for the NYU School of Medicine

(TIAA_NYU_00016220-21) produced by third-party TIAA in this action.

          158.   Attached hereto as Exhibit 157 is a true and correct copy of the January 1, 2011

to December 31, 2011 TIAA-CREF Service Provider Summary for the NYU School of Medicine

(TIAA_NYU_00015750-51) produced by third-party TIAA in this action.

          159.   Attached hereto as Exhibit 158 is a true and correct copy of the January 1, 2010

to December 31, 2010 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00000244-46) produced by third-party TIAA in this action and entered by

Plaintiffs as an Exhibit in the deposition of Chittenden.

          160.   Attached hereto as Exhibit 159 is a true and correct copy of the January 1, 2011

to December 31, 2011 TIAA-CREF Service Provider Summary for NYU

(TIAA_NYU_00000902-04), produced by third-party TIAA in this action.

          161.   Attached hereto as Exhibit 160 is a true and correct copy of the Vanguard All-in

Fee Disclosure for NYU (as of April 30, 2013) (NYU0000310-33), produced by NYU in this

action.

          162.   Attached hereto as Exhibit 161 is a true and correct copy of the January 1, 2010

to December 31, 2010 TIAA-CREF Investment Fee & Expense Disclosure for NYU




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(TIAA_NYU_00000213-14), produced by third-party TIAA in this action and entered as an

Exhibit by Plaintiffs in the deposition of Chittenden.

       163.    Attached hereto as Exhibit 162 is a true and correct copy of the January 1, 2011

to December 31, 2011 TIAA-CREF Investment Fee & Expense Disclosure for NYU

(TIAA_NYU_00000869-70), produced by third-party TIAA in this action.

       164.    Attached as Exhibit 163 is a true and correct copy of the January 1, 2012 to

December 31, 2012 TIAA-CREF Investment Fee & Expense Disclosure for NYU

(TIAA_NYU_00001578-79), produced by third-party TIAA in this action.

       165.    Attached as Exhibit 164 is a true and correct copy of the January 1, 2013 to

December 31, 2013 TIAA-CREF Investment Fee & Expense Disclosure for NYU

(TIAA_NYU_00002308-9), produced by third-party TIAA in this action.

       166.    Attached as Exhibit 165 is a true and correct copy of the January 1, 2014 to

December 31, 2014 TIAA-CREF Investment Fee & Expense Disclosure for NYU

(TIAA_NYU_00003096-7), produced by third-party TIAA in this action.

       167.    Attached as Exhibit 166 is a true and correct copy of the January 1, 2015 to

December 31, 2015 TIAA-CREF Investment Fee & Expense Disclosure for NYU

(TIAA_NYU_00003942-43), produced by third-party TIAA in this action.

       168.    Attached as Exhibit 167 is a true and correct copy of the January 1, 2010 to

December 31, 2010 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00016191), produced by third-party TIAA in this action.

       169.    Attached as Exhibit 168 is a true and correct copy of the January 1, 2011 to

December 31, 2011 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00015726-27), produced by third-party TIAA in this action.



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       170.   Attached as Exhibit 169 is a true and correct copy of the January 1, 2012 to

December 31, 2012 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00000056-59), produced by third-party TIAA in this action.

       171.   Attached as Exhibit 170 is a true and correct copy of the January 1, 2013 to

December 31, 2013 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00000069-73), produced by third-party TIAA in this action.

       172.   Attached as Exhibit 171 is a true and correct copy of the January 1, 2014 to

December 31, 2014 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00000083-87), produced by third-party TIAA in this action.

       173.   Attached as Exhibit 172 is a true and correct copy of the January 1, 2015 to

December 31, 2015 TIAA-CREF Investment Fee & Expense Disclosure for the NYU School of

Medicine (TIAA_NYU_00000107-111), produced by third-party TIAA in this action.

       174.   Attached as Exhibit 173 is a true and correct copy of the 2012 TIAA-CREF

Service and Fee Disclosure Package (Faculty Plan) and Cover Letter (TIAA_NYU_00015338-

45), produced by third-party TIAA in this action.

       175.   Attached as Exhibit 174 is a true and correct copy of the 2012 Investment

Options Comparative Chart (Faculty Plan), filed as Exhibit 8 to ECF No. 46 in this matter.

       176.   Attached as Exhibit 175 is a true and correct copy of the 2012 Investment

Options Comparative Chart (Medical Plan), filed as Exhibit 9 to ECF No. 46 in this matter.

       177.   Attached as Exhibit 176 is a true and correct copy of the March 17, 2010 Email

re: Retirement Committee Meeting, Thursday March 18, 2010 including attachments

(CLC0023521-39), produced by Cammack in this action.




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       178.   Attached as Exhibit 177 is a true and correct copy of the April 15, 2010 Email re:

Agenda for Retirement Committee Meeting Monday April 19th including attachments

(CLC0023674-80), produced by Cammack in this action.

       179.   Attached as Exhibit 178 is a true and correct copy of the March 31, 2011

Fiduciary Due Diligence Report (CL0011629-765), produced by Cammack in this action.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

Dated: January 10, 2018.

                                                    /s/ Ian C. Taylor
                                                    Ian C. Taylor




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